'AO 245B
          Case   5:09-cr-50103-TLB Document 56
            (Rev. 06/05) Judgment in a Criminal Case
                                                                              Filed 05/26/10            Page 1 of 6 PageID #: 159
              Sheet I


                                          UNITED STATES DISTRICT COURT
                        WESTERN                                         District of                           ARKANSAS

          UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               V.
                                                                              Case Number:                    5:09CR50 103-00 1
               MANUEL A. GAXIOLA
                                                                               USMNumber:                     09817-010
                                                                               Milton A. Dejesus
                                                                               Defendant's Attorney
THE DEFENDANT:
X pleaded gUilty to count(s)          Seven (7) of the Indictment on January 6, 2010
o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated gUilty of these offenses:

Title & Section                     Nature of Offense                                                         Offense Ended

21 U.S.C. § 84 I (a)(1) and         Distribute Methamphetamine; Aiding and Abetting                            09/16/2009                 7
(b)(l)(A)(viii); 18 U.S.C.
§2


       The defendant is sentenced as provided in pages 2 through               _--,,-6__ of this judgment, with the court considering the
guidelines as non-binding and advisory only.

o The defendant has been found not guilty on count(s)
X Count(s)     One (I), Two (2), Three (3), Five (5) & Six (6)   0 is   X are dismissed on the motion ofthe United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change ofname, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenClant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              May 24, 2010
                                                                              Date oflmposition of Judgment


                                                                              lSI Jimm Larry Hendren
                                                                              Signature of Judge




                                                                              Honorable Jimm Larry Hendren, Chief United States District Judge
                                                                              Name and Title of Judge


                                                                              May 24,2010
                                                                              Date
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              Sheet 2 Imprisonment
                                                                                                     Judgment   Page _..::;.2_ of   6

 DEFENDANT:                      MANUEL A. GAXIOLA
 CASE NUMBER:                    5:09CRSO103-00 1

                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     one hundred twenty (120) months




  o       The court makes the following recommendations to the Bureau of Prisons:




  X       The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

          o      at     _________ 0                      a.m.    o p.m.        on

          o      as notified by the United States Marshal.

   o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o      before 2 p.m. on

          o      as notified by the United States Marshal.

                 as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                             By ________~~~~~~==~~----------
                                                                                               DEPUTY UNITED STATES MARSHAL
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              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page _.:;;..3_ of            6

DEFENDANT:                     MANUEL A. GAXIOLA
CASE NUMBER:                   5:09CR50 I 03-00 I
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:             five (5~ years         ..
 It is antid ated that the defendant will be deported by U.S. Immigration and Custo~s Enforcement follOWing the te~ of l!l1pnsonment. ft
 Accordin[Jy if defendant leaves the United States by way of deportation or otherwise:: after cOf!1pletl.on of the fterm ofd~f!1pflsfnment!U1j a er
 such departu're, again re-enters the United States illegally; the defendant will the.n be.In Immediate vlOlat~n 0 a con I~rnft ~pe~I~.          th
 release If rior to any deportation defendant is releasea on bond by U.S. Immigration and Customs Enlorcem.ent or I , a ~r .epo a lOn, e
 defendant ~fturns to tne United States legally, defendant shall--in either event-:-report t~ ~he nearest U.S. ProbatIOn Office wlbthm 77 hcturs of
 such release or return. Based on these Circumstances, the mandatory drug testmg prOVISIOns of 18 U.S.C. § 3583(d) are here y waive.



 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shalf refi:ain from any unlawful use of.a c.ontrolled
 substance. The defendant shall submit to one drug test within 15 days of release from unpnsonment ana at least two penodic drug tests
 thereafter, as determined by the court.
 X        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments slieet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any r>ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permiSSIOn of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ,I:ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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           Sheet 5    Criminal Monetary Penalties
                                                                                                            Judgment -   Page _ ......
                                                                                                                                 4_ _    of     6

DEFENDANT:                         MANUEL A. GAXIOLA
CASE NUMBER:                       5:09CR50 103-00 1
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                             Fine                                 Restitution
 TOTALS              $ 100.00                                              $ 25,000.00                          $ - 0­



 D The determination of restitution is deferred until
     after such determination.
                                                               --­ . An Amended Judgment in a Criminal Case (AO 245C) will be entered

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYIl!ent, unless specified otherwise in
     the priorit)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

 Name of Payee                                  Total Loss·                           Restitution Ordered                     Priority or Percentage




 TOTALS                               $                               o           $_ _ _ _ _ _ _ _~O~


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

 X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      X the interest requirement is waived for the              X fine        D restitution.
      D    the interest requirement for the         D   fine      D       restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
 Septemoer 13,1994, but before April 23, 1996.
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           Sheet 6   Schedule of Payments
                                                                                                            Judgment - Page _.:::..5_ of         6
DEFENDANT:                  MANUEL A. GAXIOLA
CASE NUMBER:                5:09CR50103-001

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    X     Lump sum payment of$            25,100.00          due immediately, balance due

            D     not later than                                   , or
            X     in accordance         D C,       D D,       D      E, or    X Fbelow; or
 B    D Payment to begin immediately (may be combined with                   DC,       D D, or       D F below); or
 C    D    Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                       over a period of
          _ _ _ _ _ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                     over a period of
          _ _ _ _ _ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    X Special instructions regarding the payment of criminal monetary penalties:
            Ifnot paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
            than $25.00 quarterly, or 10% of the defendant's quarterly earnings, wliichever is greater. After incarceration, any unpaid financial
            p'enalty shall become a special condition of supervised release and may be paid in monthly installments of not less than J0% of the
            oefendant's net monthl:t household income, but in no case less than $100.00 per month, with the entire balance to be paid in full one
            month prior to the termmation of supervised release.


 Unless the court has expressly ordered otherwise, ifthis judgplent imposes imprisonment, payment ofcriminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made througn the Federal Bureau of PrIsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Pa)'l!lents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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           Sheet 7   Denial of Federal Benefits
                                                                                                    Judgment-Page _ ....
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DEFENDANT:                  MANUEL A. GAXIOLA
CASE NUMBER:                5:09CR50103-001
                                                  DENIAL OF FEDERAL BENEFITS
                                        (For Offenses Committed On or After November 18, 1988)

 FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

      IT IS ORDERED that the defendant shall be:

X    ineligible for all federal benefits for a period of           five (5) years

 o ineligible for the following federal benefits for a period of
     (specify benefit(s))




                                                                      OR
 o Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

 FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

 o be ineligible for all federal benefits for a period of
 o be ineligible for the following federal benefits for a period of
     (specify benefit(s))




     o     successfully complete a drug testing and treatment program.

     o     perform community service, as specified in the probation and supervised release portion of this judgment.

           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
           judgment as a requirement for the reinstatement of eligibility for federal benefits.



           Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
 disability, veterans benefit, pu6lic housing, or other similar benefit, or any other benefit for which payments or services are required
 for eligibility. The clerk is responsible for sending a copy of this page and the first page of this juilgment to:


                               U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
